 

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 
 

DENISE ALLETTO,

Plaintiff,
v.

LOYOLA UNIVERSITY MEDICAL:CENTER,

Nm! Sager ame” Seam Smet” Somme Caper “nme” Nome” eee’?

Defendant.

 

~* COMPLAINT O

“9

Plaintiff Denise Alletto, by her attorney, James X. Bormes, complains agains “
Defendant Loyola University Medical Center as follows

JU

 

1. This action arises under and jurisdiction is founded on the American with
Disabilities Act (the “ADA”), 42 U.S.C. §12101, and 28 U.S.C. § §1331 and 1343{a)(3).
Remedial measures are provided in‘conjunetion with 42 U.S.C. §2000 et seq.

2. Plaintiff is a female, a citizen of the United States of America, and the state of
Illinois. Piaintiff is entitled to all rights, privileges and immunities guaranteed to all
citizens of the United States of Ametica under the Constitution and Laws of the United
States.

3. Loyola University Medial Center (“Loyola”) is an employer within the
meaning of the ADA and it has in excess of 300 employees. Loyola is qualified to do

business within the State of Illinois. \
 

 

 

4. All acts of unlawful employment practices occurred in this district. Venue is

based on 28 U.S.C. § 1391.

 

a FACTS

5, Plaintiff has had bipolar disease since 1975, Plaintiff has been hospitalized
because of bipolar disease and her doctors have prescribed various medications to treat
and control her disease.

6. Loyola hired Plaintiff on or about March 25, 1996 as a full time collection
representative. Plaintiff informed Loyola’s Out Patient Health Services Department, her
department manager and her immediate supervisor when she was hired that she suffered
from bipolar disease which required hed to be medicated.

7, From March 25, 1996 to’st least December of 1999, Plaintiff performed her
duties to the satisfaction of Loyola. a

8. Plaintiffs treating doctor, Elizabeth K. Arts who is a clinical psychologist,
wrote a letter dated December 20, 1999 to Loyola where she recommended that in order
to avoid a severe manic episode Loyola should reduce Plaintiff's workload 50% for two
to three weeks. (A copy of the December 20, 1999 letter is attached as Exhibit A.) That
request for accommodation was not unreasonable particularly since the period where
Plaintiff would be working a reduced schedule would have been during the Christmas
and New Year’s holidays. -

9, Loyola did not grant the accommodation Dr. Arts requested on behalf of
Plamtiff. Instead, Plaintiff's manager, Chad Herringer, pressured Plaintiff not to pursue
the accommodation her doctor recommended. Instead, despite the fact that Loyola knew

that Plaintiff was suffering from what her doctor described as “‘severe job related stress
 

 

and anxiety” Loyola assigned Plaintiffto a new project which was significantly more
stressful than her prior duties. Moreover, Loyola failed to adequately train Plaintiff for
the new project. -

10. Effective February 23, 2000; Loyola terminated Plaintiff on the grounds that
Plaintiff failed to properly perform her duties with respect to the new project to which she
had been assigned. |

11. In March of 1999, Plaintiff filed a charge with the Equal Employment
Opportunity Commission (the “EEOC’) alleging Loyola discriminated against her
because she suffers from bipolar disease,”

12. The EEOC issued Plaintffa Right to sue letter which plaintiff received on or
about August 23, 1999. (A copy of thé Right to Sue Letter is attached as Exhibit B.)

13. Plaintiff has exhausted hai State and Federal administrative remedies and has
standing to file this civil action against Loyola.

14. Plaintiff is a qualified individual with a permanent mental disability.

15. The ADA prohibits discrimination in employment because of an employee’ s
disability.

16. Loyola discriminated agaist Plait because of her disability because even
though Plaintiff informed Loyola she was disabled but able to perform the essential
function of her job provided she be allowed to work part time for a two to three week
period and Loyola not only refused tat Fequest but it assigned Plaintiff to a new and even

more stressful project and then Loyola did not adequately train Plaintiff.
 

 

VW

17. Loyola’s refusal to allow Piaintiff to work part time and then assigning her to
a new and even more stressful task for which it did not properly train her demonstrated a

callous disregard of her rights.

      
  

18. Asa direct and proximate ; sult of Loyola’s discriminatory conduct, Plaintiff
suffered a loss of professional standing. emotional pain and suffering. Lost wages and
employee benefits, including tuition reimbursement for her college age son, and she will
continue to lose wages and benefits in the future.

WHEREFORE, Plaintiff Denise Alletto prays for entry of an order of judgment

against Defendant Loyola University Medical Center as follows:

(a) Trial by jury on the charge Taised in this Complaint and those filed with the

 

EEOC, a
(b) That a declaratory judgme be issued that Plaintiff's rights have been
violated as alleged herein hat the acts and practices complained of herein

are unlawful and violate the ADA:

(c) Permanently enjoining Loyola University Medical Center, its agents,
successors, officers, director’s employees and attorneys from engaging in
each of the unlawful practices, policies, customs and usages set forth herein
and from continuing any and all other practices shown to be in violation of
applicable law; ene

(d) Reactivating Plaintiff in her position with Loyola University Medical Center
at her full salary, adjusted for wage increases since that time, or in the
alternative awarding Plaintiff front pay;

(e) That Plaintiff be awarded her back wages and benefits, with pre and post
judgment interest, actual, compensatory and punitive damages and any other
damages to which Plaintiff might be entitled; liquidated damages for future
pecuniary losses, emotional pain and suffering, inconvenience, mental
anguish, loss of future business opportunities and other non pecuniary losses
due and owingtoher,

(f) Award Plaintiff the costs and disbursements of this action, including
reasonable attorney’s fees; ‘and

(g) Such equitable relief as this court deems equitable and just

 

 
 

 

JURY DEMANDED

Plaintiff demands a trial by jury.

 

DENISE ALLETTO,
attorney |

 

James X. Bormes - cetee
LAW OFFICE OF JAMES X. BORMES
8 South Michigan Avenue

Suit 2600

Chicago, IL 60603

312-201-0575

 
 

DEC-28-1999 15:aQ P.@2

r

 

 

. VU R . A ,
¥ WA \ the Psych oe a
WS \N Associates
December 20, 1999
Chad Herringer

LOYOLA HOSPITAL, _ Fax#708-216-6112
RE: DENISE ALLETTO

Denise Alletto is a partene under my care,

Denise called me today and reported that she is experiencing sereve job
related stress and anxiety,

At this poinr in time, it is necessary to reduce stress in order to
prevent a possible manic episode.

Please reduce Denise's work load to 50% and continue that work load for
2-3 weeks, [I anticipate that Bhe will be able to resume a normal work
load after that. emcee

é

If you have any questions, please do not hesitate to contact me,

th,

Elizabeth x. Arts., Psy.D.
Clinteal Psychologist

Sincerely,

.

(>

EKA/kim

EXHIBIT A
SUITE 107 @ 950 N. YORK RO, @ HINSDALE. 1.60521 @ 630-986-5403
SUITE 105 @ 600 S. WASHINGTON ST. @ NAPERVILLE, IL 60540 @ 630-355-3350

  
 

» COOK COUNTY PENSZON Steousy (6 UO/c4 “UU UO!42 NV.e7)  VesuO
S

 

#“
™

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION | *

Chicago District Office 500 West Madison St., Suite 2800
Chicago, JL 60661

PH: (312) 353-2713

TDD: (312) 353-2421

ENFORCEMENT FAX: (312) 886-1168

LEGAL PAX: (312) 333-8555

 

Denise M. Alletto
840 South 8"
LaGrange, IL 60525

Re: EEOC Charge No. 210802356 |
Denise M, Alletto v. Loyola University. Medical Center . me

Dear Ms. Alletto:

This letter is to advise you that your charge has been dismissed and you have been issued a
Notice of right to sue. The enclosed document entitled’ "Dismissal and Notice of Rights”
explains that, should you wish to pursue the matter in court, you must file suit within 90 days.

It is our judgement that the evidence gathered to date is unlikely to establish a violation of the
Statutes we enforce. Further, this evidence, given our limited resources, does not warrant a
continued investigation.

Information sheets are enclosed which describe how you can obtain a copy of your EEOC file
and how you can file a lawsuit, should you wish to pursue your claim in court. Jf you have
questions or concerns, you can reach me in writing at the address above, or by phone at (312)
353-0897,

Sincerely,
a) rane Maud
7, o0oD 26

Investigator

EXHIBIT B
OLE oe CIVIL COVER SHEET ~ Nov 2420

The JS-44 civil cover sheet and the information contained herein néitiér replace nor supplement the filing and service of pleadings or other papers as requ
by law, except as provided by local rules of court. This form, approved %, he Judicial Conference of the United States in September 1974, is required for the 4
of the Clerk of Court for the purpose of initiating the civil docket sheet. (& EE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 

 

JS 44
(Rev. 12/96)

 

1. (a) PLAINTIFFS

Denise Alletto

(b} county oF RESIDENCE OF FIRST LISTED PLAINTIFF

 

Cook
(EXCEPT IN U.S. PLAINTIFF CASES)

 

DEFENDANTS ( r C pay 2 UG
, ueakosade

versity

JUDGE GRA

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT

Loyola Uni

£4

       

 

my

 

 

   

 

 

 

    
 

 

 

 

 

A et
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATIONSOF THE?
TRACT OF LAND INVOLVED. ee, oF es
wk oe seat “A . on
(C) aTtoRNeys (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER) ae ATTORNEYS (IF KNOWN) CF, ie
James X. Bormes egy ons <3
Law Office of James X, Bormes** EYP e SE BORAT 2 “
er mers a ACStMOND C z
8 South Michigan, Ste 2600 MAGISTRATE $0003) AGS4 GN a, cs
Chicago, IL 60603 312-201-0575 : _; __
I. BASIS OF JURISDICTION — Lace aN x" None eoxonty) | IIL, CITIZENSHIP OF PRINCIPAL PARTIES (usce aN -x" IN ONE BOX FOR PLAIN
ne : co Teo -(For Diversity Cases Only) AND ONE BOX FOR DEFENDANT)
TF DEF PTF
D1 US. Government 3 Federal Question _.Citizen of This State 1 ay Incorporated or Principal Place =o 4
Plaintitf (U.S, Government Not a Party) of Business In This State
De US. Government D4 Diversity . voce ., Gitizen of Another State O2 2 Incorporated and Principal Place Os ©.
Defendant {Indicate (Citizenship of Parties of Business In Another State
in teem Hil) es _.Citizen or Subject of ag3 3 Foreign Nation Oe o
wi Foreign Country . , . wo. .
IV. ORIGIN (PLACE AN "X" IN ONE BOX ONLY) "Appeal to Diet
- ee Transferred from oo, Judge from
1 Original co 2 Removed from oO 3 Remanded from Os another district Oo 6 Multidistrict O07 Magistrate
Proceeding State Court Appellate Court - (specify) Litigation Judgment
V. NATURE OF SUIT = (PLACE AN “X" IN ONE BOX ONLY)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
10 Insurance PERSONAL INJURY PERSONAL INJURY” 0 610 Agricutture (1 422 Appeal 26 USC 158

1

120 Marine
130 Miller Act
1

1

oO
Oo
QD
D 140 Negotlabte Instrument
o
0
B

1 910 Alrpiane
D315 Alrptane Product
Llabllity

B 362 Personal Injunf="~ "
Med. Malpractice ,

(1 365 Personal Injury"
i thy

() 620 Other Food & Drug
O 625 Crug Related Selzure
of Property 21 USC 881

(0 429 Withdrawal
28 USC 157

 

 

 

1 400 State Reapportlonment
D 410 Antitrust :

O 430 Banks and Banking

C7 450 GCommerce/ICC Rates/etc.

50 Recovery of Overpayment D320 Assault, Libel & Product Liab! C1 630 Liquor Laws ©) 460 Deportation

& Enforcement of Judgment Slander C1 368 Asbestos Personal D 640 FR, & Truck PROPERTY RIGHTS | 5 470 Racketeer Influenced and

151 Medicare Act 1 390 Federat Employers’ Injury Product Liability | 2 650 Alrine Regs, Corupt Organizations

152 Recovery of Defaulted Lability : DI 880 Occupational D 820 Copyrights Cl 810 Selective Service
Student Loans 1 340 Marine PERSONAL PROPERTY” Safety/Health (630 Patent C850 Securitles/Commodities/
(Exel. Veterans} D245 Marine Product 11 970 OtherFraud | 1) 680 Other © 840 Trademark Exchange

153 Becovery of Overpayment al 0 371 Truth In Lending” O 875 Customer Chaltange

a of Veteran's Benefits, 0 350 Motor Vehicle 0 380 other Personal” , LABOR SOCIAL SECURITY i2Use 3410

0 160 Stockholders’ Suits
0 190 Cther Contract
D 185 Contract Product Liability

Q 358 Motor Vehicle
Product Llabllity

D 360 Other Personal Injuty

 

Property Damage~~

0 985 Property Damage * |
Product Liability —

 

 

(5 710 Fair Labor Standards
Act

CG 720 Labor/Mgmt. Relations

CD 861 HIA (1395f)
0 862 Black Lung (923)
O 883 DIWC/DIWW (405ig}}

 

 

O 891 Agricuttural Acts
O 892 Economic Stabilization Act
C) $99 Environmental Matters

renin ( 894 Energy Allocation Act
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS Oo eee See Title XVI 0 895 Freedom of
oe DO 730 Labor/Mgmt. Reporiing | O 1 (4056 Information Act
fi 240 Land Condemnation 0 441 Voting 0) 610 Motion to Vacate & Disclosure Act 5 a 0 900 Appeal ct Fee Determinatio
D 220 Foreclosure D 442 Employment peters D 740 Rallway Labor Act FEDERAL TAX SUITS Under Equal Access to Just
DD 230 Rent Lease & Ejectment D 443 Housings 1 630 ne pane Corpus (0 880 Constiutionaltty ot
O 240 Torts t¢ Land Accommodations [i 635 Death Penalty (3 790 Other Labor Litigation State Statutes .
Tort P lab 44 Welfare DO 876 Taxes (U.S. Plaintiff
TD 245 Tort Product Liability 0 1 $40 Mandamus & Other (0 890 Other Statutory Actions
1 290 All Oiher Real Proparty Other Civil Rights 860 cwIRitts or or Defendant) ry
1 _. ‘94 Empl. Ret. Inc. 871 IRS — Thire Pai
1D SEB Prison Conditioi: Securlty Act OO eTt Suse ress

 

 

 

 

 

 

VI. CAUSE OF ACTION = cite THE Us. CIVIL STATUTE UNDER WHICH YOUTARE FILING AND WRITE BRIEF STATEMENT OF CAUSE.

DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

American with Disabilities Act 42 U.S.c.

Vil. REQUESTED IN

COMPLAINT

ves BAY

CHECK IF THIS IS A CLASS ACTION. ~

C1 UNDER F.R.C.P 23

 

. 2 UF Aer emmapeiaabia we
VIII. = This case is not a refiling of a previously dismissed action.

1201

DEMAND $

257

ja Ware ea

ehitec Se the ert ae

CHECK YES only if deman in complain
JURY DEMAND: a Oo No

"OX

 

  

 

[J isa refiling of case number__“°%s = SSB feviously dismissed by Judge
. , ane ) ne
om [ya] OTR IN
_ oo b \ Z
UNITED STATES DISTRICT COURT ( \
 

  
   

—oanerre cag HUDGE GRADY
StRsicNeo AS ATTORNEY (S) FOR:

 

 

 

 

 

 

 

 

 

 

 

   
   

 

   

 

 

 

 

 

 

 

 

 

 

 

  
 
 
  
  
   

 

 

 

 

 

 

 

 

 

= >
wn ms
. on
co et
SIGNATURE ' Ge ont
me i:
Co Te
. = Fiat Co . 5
Soaked Cc. 7
LAW OFFICE OF JAMES x BORMES : o
STREET ADORESS — STREET ADDRESS aA on
th Michigan Avenne, Ste. 28ann
CITY/STATE/ZIP CITV/STATEZZIP
1 2
TRBaS Road S060 TELEPHONE NUMBER
312-201-0575
uM | WERTIFRATION NUMBER (SEE TEM 4 ON REVERSE)
06202568
MEMBER OF TRIAL BAR? ves By | MEMBER OF TRIAL BAR? "YES Oo DO
FRAL ATTORNEY? ves Bl THAL ATTORNEY? YES oO MOT] |
DESIGNATED AS LOCAL COUNSEL? YES Cj NO ia
(C) — (D)
ake
SIGNATURE SIGNATURE
NAME Tae NAME
STREET ADDRESS STREET ADORESS ,
FSRTRTEAP TSTATEIAP
TELEPHONE NUMBER TELEPHONE NUMBER ”
IDENTIFICATION NUMBER (SEE ITEM 4 ON REVERSE) “TOENTIFICATION NUMBER (SEE NEM 4 C ONREVERSE)
MEMBER OF TRIAL BAR? ves Fy NO my eGEA OF TRAL EA eS Fy NOT
| TRAL ATTORNEY? YES oO NO Oo TAAL ATTORNEY? YES O NOT]
DESIGNATED AS LOCAL COUNSEL? ves NO FT DESIGNATED AS LOCAL COUNSEL? YES. Cy NOT T

 

 

 

PLEASE COMPLETE IN ACCORDANCE WITH INSTRUCTIONS ON REVERSE. po
